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                        IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, NORTHERN DIVISION



  UNITED STATES OF AMERICA,                              1: 19-CR-00021 TC

                       Plaintiff,                        FELONY INFORMATION

  vs.                                                   VIO.
                                                         21 U.S.C. § 841 (a)(l),
  VALENTINE GUADARRAMA,                                  Possession ofMethamphetamine
                                                         with Intent to Distribute.
                       Defendant.



        The United States Attorney charges:

                                           COUNT 1

                                 21 U.S.C. § 841(a)(l)
               Possession of Methamphetamine with Intent to Distribute


        On or about July 3, 2018, in the Northern Division of the District of Utah,

                              VALENTINE GUADARRAMA,

the defendant herein, did knowingly and intentionally possess with intent to distribute

five (5) grams or more of methamphetamine, a schedule II controlled substance within in
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                                                         -2-
              the meaning of21 U.S.C. § 812, in violation of 21 U.S.C. § 841(a)(l) and 18 USC§ 2,

              and punishable pursuant to 21 U.S.C. § 841(b)(l)(B).



____ ~-   ~   JOHN.W. HUBER~----~---_
              United States Attorney


                (JrlJMfi ~.
              BRANDEN B. MILS
                                      ~
              Special Assistant United States Attorney




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